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                            EXHIBIT F
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                             CLASS ACTION PRACTICE RESUME


 Aron D. Robinson is an attorney licensed to practice law in the State of Illinois and is also
 admitted to the United States Supreme Court and the United States Courts of Appeal for the
 Federal, Third, Fifth, and Seventh Circuits. He received his Juris Doctor, with distinction, from
 The John Marshall Law School in 1987. He began his practice with the Holstein Mack &
 Dupree firm and worked for various related entities from 1987- 1997. In 1997, Robinson opened
 his current firm, The Law Office of Aron D. Robinson. Between 1996 and 1998 he served as a
 Vice Chair of the Chicago Bar Association Class Litigation Committee. Between 2005 and 2007
 he served as Legislative Liaison for the CBA’s Consumer Law Committee and in 2006-07 also
 for the Class Litigation Committee.

 Mr. Robinson has concentrated his practice in complex and class litigation. His experience
 includes litigating consumer, securities, mass tort, and insurance related complex and class cases.
 Representative cases include:

 Hoffman v. First National Bank, 88 CH 4462 A class action by CD depositors regarding
 promotional interest rates on certificates of deposit on renewal. The case settled for interest rate
 increments to depositors accounts. The settlement was a valued at $120,000,000.00.

 In re Kraft Ready to Roll Litigation, 89 CH 5016 Litigation over a sweepstakes promotion
 matter where contestants all received “winning gamepieces.” The case was settled for
 approximately $12, 000,000.00 in cash and free food coupons.

 Harris v. State Farm, 89 CH 5739 A class action on behalf of people who had medical
 payments claims reduced or denied by an insurance company. The case settled and class
 members received cash payments from the company.

 Trucway v. GECAL, 92 CH 8962 A class action on behalf of automobile lessors who were
 charged various amounts for unreasonable wear and tear and other lease end charges in violation
 of the terms of their lease agreements. The case settled for cash payments and credits valued at
 approximately $10,000,000.00.

 In Re Chicago Flood Litigation, 93 L 5422 A class action on behalf of individuals and
 businesses who suffered losses arising out of the Chicago underground tunnel flooding in 1993.
 The case has been partially settled for in excess of $22,000,000.00. The case has been reviewed
 by the Supreme Court, the Seventh Circuit Court of Appeals (twice), the Illinois Supreme Court
 and the Illinois Appellate Court.

 In Re Sears Automotive Litigation, A class action regarding Sears automotive practice of
 “selling” unnecessary parts and repairs. The case resulted in a change in Sears’ sales practices,
 injunctive relief, and other claim procedures.
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 Sanchez et al. v. Arista Records, 90 CH 11422 A class action involving misrepresentations to
 record purchasers. The case settled for cash payments to claimants.

 Grant v. Midwest Stock Exchange 91 CH 9037. A class action concerning the clearing and
 settlement practices of the exchange.

 Stelk v. First National Bank, 94 Ch 8314 A class action against the promoters of magazine
 subscription sweepstakes. The promoters agreed to change their marketing practices to make it
 clear that no purchase was necessary to obtain additional entries.

 Cottle v. Southland, C.A. 3-87-1737-G, consol. A class action concerning securities law
 violations. The case was settled in the United States District Court for the Northern District of
 Texas.

 Puritt v. Allstate, A certified class action involving medical payments insurance. Reported at
 284 Ill. App. 3d 482.

 Shubert v. Federal Express, No. 97 CH 6431, 00 CH 5597 Circuit Court of Cook County. A
 certified national class action alleging the improper collection of a fuel surcharge by Federal
 Express. Reported at 306 Ill. App.3d 1056 (1st Dist. 1999). A class settlement of the action was
 approved by Judge Richard Siebel in 2003.

 Gianopolous et. al. v. Interstate Bakeries Corp. 98 CH 1291 A certified class action against
 the manufacturer of food products such as Twinkies®, Ho-Hos® and various others involving
 contamination in the food production process. The case was resolved on a classwide basis after
 Interstate filed for Bankruptcy protection.

 Schneider v. Dominicks Finer Foods. 98 CH 7951 A class action against a food store chain
 concerning the sale of adulterated ground beef products. The case was settled for class-wide
 monetary and injunctive style relief valued at between one to two million dollars.

 Parinello v. Iwans Catercorp, Inc. et. al. 98 L 07011 A class action concerning the sale of
 contaminated food products by a local food catering business over a “graduation” weekend in
 south suburban Chicago resulting in over 6,000 cases of food poisoning. The case was resolved
 for cash payments to those who became ill from the contaminated food. Robinson was appointed
 to the class action executive committee by the Court.

 Heilman et.al. v. Perfection Corporation et. al. 99 D679-CW-W-6 A class action against the
 manufacturers of hot water tanks and some of their component part manufacturers. A national
 class action filed in Illinois courts and courts around the country. By agreement of the parties the
 case was settled through an action in the United States District Court for the Western District of
 Missouri. Class Members have receive replacement of the defective parts, reasonable costs
 incurred to replace a defective dip tube and reasonable costs to repair damaged property. The
 settlement has been valued in excess of $100,000,000.00. Robinson served as additional class
 counsel in the action.
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 In Re: Starlink Corn Products Liability Litigation MDL No. 1403, 01 C 1181 United States
 District Court for the Northern District of Illinois. This action involved the sale of food products
 contaminated with the genetically altered and unapproved “Starlink” corn gene. The case was
 settled on a nationwide basis for a fund of 9 million dollars. Robinson served on Plaintiff’s
 executive committee.

 Boland et. al. v. Simon Marketing and McDonald’s Corp. No 01 CH 13803 consol. Circuit
 Court of Cook County. A class action (one of approximately 28 nationwide)arising out of the
 defendant’s allowing certain games of chance to be played by consumers when the winning high
 value game pieces had been misdirected by a Simon employee. The action has been settled as a
 national class on behalf of game players and approved by Judge Schiller. The settlement relief
 provided for $15,000,000 in new high value prizes to be awarded and other relief totaling
 approximately $20,000,000. Robinson served as national co-lead counsel.

 McCabe v. Crawford & Co. No. 01 C 8194, United States District Court for the Northern
 District of Illinois. A certified class action on behalf of consumers who received collection letters
 concerning amounts claimed due for damages to rented motor vehicles. The Court, Judge
 Castillo, certified two classes under the FDCPA. The case was subsequently settled for payments
 of $525.00 per class member.

 Smith v. J. M. Smucker Co. No. 03 CH 8522, Circuit Court of Cook County. A class action
 concerning alleged misrepresentations of the contents of certain fruit spreads manufactured by
 the J. M. Smucker Co. Numerous actions across the nation were settled in this action resulting in
 a change in the disclosures made about the product and coupons valued at $17,500,000.

 Recognition Communications, Inc. v Audit Bureau of Circulations No. 03 CH 12733. A
 certified national class concerning auditing irregularities related to circulation of a national
 magazine. A Partial settlement is pending before the trial court.

 In Re Chicago Sun-Times Circulation Litigation. No. 04 CH 9757. A class action concerning
 misrepresentations of newspaper circulation figures and their relation to advertising rates and
 charges for advertisements in the paper. A class settlement was approved by the Circuit Court of
 Cook County Illinois providing refunds, credits and other benefits to the class valued in excess of
 $31,000,000.

 Rosen v. Ingersol Rand Co. 04 CH 15345, 310 Ill. Dec. 127 (1st Dist. 2007). Circuit Court of
 Cook County. A class action concerning allegedly defective locks primarily used for bicycles.
 Numerous actions across the nation were settled in this action before Judge Nowicki resulting in
 rebates and other relief for purchasers of locks and cash payments for those who suffered stolen
 bicycles.
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 In RE TJX Companies Security Breach Litigation, MDL 1838 Dist MA. This action
 involved the compromise of customer data from TJX companies computer systems. The Class
 action resulted in a settlement providing credit protection improved security systems and other
 relief to TJX customers. Aron Robinson was an additional counsel in the case.


 Marzano et. al. v. Village of Crestwood 09 CH 16096, consolidated. A class action brought
 by purchasers of contaminated water from the Village of Crestwood. The case was settled
 resulting in credits and cash payments related to these purchases. Aron Robinson was on the
 Executive Committee and involved in court hearings and witness testimony and presentation of
 legal argument on issues in the case.
 In Re: Countrywide Financial Customer Data Security Breach Litigation MDL No. 1998
 W.D. Kty A class action seeking recovery for breaches of security and thefts of social security
 and other personal data. The MDL action was settled on a national basis providing various forms
 of relief to Plaintiff’s class. Aron Robinson was additional counsel in that matter.


 Jamison v. Summer Infant et. al. No. 09 C 7513 N.D. IL. A class action involving claims
 against manufacturers and retailers related to the unencryption of signals broadcast by certain
 monitors to receiving units. The case was resolved through settlement where class members
 could claim amounts up to 40% of the monitors retail cost. Aron Robinson was Co-lead counsel.



 Additionally, Mr. Robinson has been involved in consumer class actions against Audi ( Perona
 v. Volkswagen of America, Inc., 292 Ill. App. 3d 59 (1st Dist. 1997)), Suzuki (Connick v. Suzuki
 Motor Co, Inc., 174 Ill. 2d 482 (1996)), and Ford, Dewan v. Ford Motor Co. 343 Ill. App. 3d
 1062 (1st Dist. 2003), involving defects in their automobiles and against cellular phone
 manufacturers. Verb v. Motorola 284 Ill. App. 3d 460 (1st Dist. 1996) and Schiffner v. Motorola
 297 Ill. App. 3d 1099 (1st Dist. 1998).
